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DENNIS .]. HERRERA,, State Bar #EBQ()()Q
Ciiy Attomey

KRISTEN A. JENSEN, Szme ear #§30;96
THOMAS S. LAKR}`TZ, stare ear #16:234
CHRISTINE VAN AKEN, Smr€ say #24§755
Depm:y City Attomeys

City H&H, Room 234

1 Dr. Carlton B. Goodleit Pface

San Prancisco, Ca§ifomi& 94§02

Teiephone: (415) 5 54~“461 5
Facsimiie: (415) 554-4757
B»Mai l: kristen.j ense'n@sfgov.org

Atiomeys for Defendant

CITY AND COUNTY OF SAN FRANCISCO

(lnchiding SAN FRANCISCO DEPARTMENT OF BUILDING

INSP`ECTION, SAN FRANC`ESCO BUIL`DING

INSPECTION COMMISSION, and

SAN PRANCISCO PLANNING D`EPARTMENT)

UNITED STATES DISTRICT COURT

NORTH.ERN DISTRECT OF CAL.IFORNIA

OAKLAND DIVIS.ION

REGAN CARROL`L TRUST, Regan
Carreil, Trustee,

Plaintiff,
vs.

CITY A.ND CO`UNTY OF SAN
FRANCISCO, SAN _FRANCISCO
DEPARTMENT OF BUILD[NG
INSPEC'I`ION, SAN FRANCISCO
BUILDING ENSPECTION
COMMESSION, and SAN `FRANCISCO
PLANNING DEPARTM`ENT,

Defendants.

 

 

 

 

Case NO. 007-2577 SBA

CITY'S M`OTION TO DISMISS FOR
LACK OF JURISDICTION AND
FAILURE TO STATE A CLAIM ANB,
.IN THE ALTERNATI`VE, FOR
SUMMARY JUDGMENT

[FRCP IZ(B){§); lZ(B}(tS); 561

Hearing fDate: December 11, 2007

Time: 1:{)() p.m.
PIace: Cou¥£room 3, 3rd Fic)or
Triai Date: TBA

Defendant Ci€y and County cf San Francisco (sued herein 35 the City and Ceuniy of San

Fraiicisco, San F:‘aneisco Depariment cf Bui§ding I_nspection, Sari Francisco Bui§ding inspection

Comm.ission, and San Francisco Planning Department; collectiveiy "Cii'y"} moves the court to

dismiss the action pursuant to FRC`P 12(1)`)1), 12 (i))(@) or, in the r¢ifiei*nzztives for seminary judgment

CI'Z`Y’S MOTION '.§`O DlSMTSS
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pursuant to FRCP 56. Tiiis motion is made on the grounds that Plaintift‘s compiaint fails to state a
ciaim for Whi_ch relief can be granted, and some or all of the claims set forth in the complaint are not
ripe for review.

Specifically, the complaint fails to state a claim for relief pursuant to 42 U.S.C. §1983 in that
Plaintifl` lias failed to allege facts establishing (t) acts by the defendants (2) under color of state law
(3) depriv[ed]{it} of federal rights, privileges or immunities §and] (4) caus[ed}[itl damage Moreover,
the court must apply the highly deferential “rationaf basis" standard of review to Plaintift’s ciaims.
Because the proposed project did not comply With existing local law at the time Plaintit`f sought its
issuance, tlie City's refusal to issue the requested permit Was rationally based

_Plaintiff's claims are also barred on the basis of res judicata and collateral estoppel, because
Plaintift` failed to seek state judicial relief from the administrative decisions it now challenges and
those determinations must now be accorded preclusive effect in addition, Plaintiff_‘s §1983 claims
are barred by the statute of limitations, since those claims are premised on alleged actions by the City
that Plaintiff claims occurred prior to lurie, 2()01.

Alternatively, the complaint sets forth claims Which are not ripe for review, since the
Complaint does not allege that the City has taken final action With respect to Ptaintift‘s building
permit application In fact, at Plaintift‘s request, the City's Board of Appeals continued the hearing of
Plaintiffs claims relating to the City's denial ot` a building permit for one year, and has taken no

further action thereon

The motion to dismiss is made based on this i\/lotion, the Notice of Motiori and the
Mernorandum of Points and Authorities filed in this action, the City's request for judicial notice in
support of the motio.n, the pleadings and papers on file With this Court, and such other matters as may

be presented to the Court at the time of hearing

Clt`Y’S MOTION TQ DISMISS 2 n;\iaaa"-aizooncsozssiooaazseem
CASE \O 097-2577 SBA

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Dated: October lO, 2007

DENNIS J. HERRERA
City Attorney

KRISTEN A. lENSEN
THOMAS S. LAKRlTZ
CHRISl`lNE VAN AKlZEN
Deputy City Attorneys

 
   
 

 
 

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Attorneys for Defendant
CITY AND COUNTY OiAi SAN FRANCISCO

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CASE NO. C-07-2577 SBA

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